MICHELE POWER
SEAN BROWN
POWER AND BROWN, LLC
P.O. BOX 1809
BETHEL, ALASKA 99559
Telephone: 907-543-4700
Facsimile: 888-887-1146

Attorneys for Plaintiffs


                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

GAIL WATSON-JOE and WALLACE
JOE, SR.

                      Plaintiffs,                     Case No._____ cv ______ ( _____ )

vs.                                                     COMPLAINT FOR DAMAGES

UNITED STATES OF AMERICA,

                      Defendant.



       For their complaint, plaintiffs, by and through counsel Power and Brown, LLC,

allege as follows:



                                    Parties and Jurisdiction

1.     This action arises under the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq.

       Jurisdiction is based on 28 U.S.C. § 1346(a) (2) and 1346(b).

2.     Plaintiffs submitted timely administrative claims based on the facts alleged herein


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     to the Department of Health & Human Services. More than six months has passed

     since the receipt of the claims, which have been neither admitted nor denied. The

     claims are deemed by plaintiffs to be denied, pursuant to 26 U.S.C. § 2675.

3.   At the time of the conduct that forms the basis for the allegations in plaintiffs'

     Complaint, the Alaska Native Medical Center ("ANMC") through the Alaska

     Native Tribal Health Consortium ("ANTHC") were carrying out a compact

     agreement with the Indian Health Service, and is deemed to be part of the Indian

     Health Service in the Department of Health and Human Services of the United

     States of America pursuant to Public Law 101-512, Title III, section 314.



                             Common Factual Allegations

4.   Plaintiffs Gail Watson-Joe and Wallace Joe, Sr. are a married couple residing in

     St. Mary's, Alaska.

5.   On or about March 13, 2009, Gail Watson-Joe underwent a total right hip revision

     at ANMC.

6.   During the surgery, the physicians did not properly implant the components of the

     artificial hip.

7.   As a result of the physicians' error, Gail Watson-Joe suffered multiple dislocations

     and required a second revision surgery at ANMC on or about May 14, 2009.

8.   Subsequent to the May 14, 2009 revision, Ms. Watson developed a bacterial

     infection.

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9.    On or about August 24, 2009, Gail Watson-Joe returned to ANMC for a third

      revision surgery.

10.   During the August 24, 2009 surgery, a health care provider fractured the proximal

      portion of Gail Watson-Joe's femur.

11.   After the surgery, the same health care provider inadvertently left staples in her

      body.

12.   As of the date of filing this Complaint, Ms. Watson-Joe has not been able to have

      a new implant.

13.   As a result, Gail Watson-Joe experienced and continues to experience severe pain

      and mobility issues.

14.   As a result of the above, Gail Watson-Joe suffered serious pain, injuries and

      subsequent disability.

15.   As a result of Gail Watson-Joe's injuries, Wallace Joe, Sr. suffered a loss of

      consortium.


                             First Claim for Relief: Negligence

16.   Plaintiffs incorporate by reference all prior allegations herein.

17.   The examination, care and control of the treatment of Gail Watson-Joe was

      performed by employees of the ANMC, through the Department of Health and

      Human Services, an agency of the United States of America. At all relevant times

      herein, said employees were acting within the scope of their employment.


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18.   In the aforesaid examination and control of the care and treatment of Gail Watson-

      Joe, the defendant’s employees negligently failed to possess that degree of

      knowledge and skill ordinarily possessed and exercised at the time by other health

      care providers in the field or specialty in which they were practicing.

19.   As a proximate result of the negligence of the employees and agents of the

      defendant, Gail Watson-Joe suffered pecuniary damages.

20.   As a proximate result of negligence of the employees and agents of the defendant,

      Gail Watson-Joe suffered physical injury, disability, emotional distress, pain and

      suffering, inconvenience, loss of enjoyment of life, in an amount to be proven at

      trial.



                     Second Claim for Relief: Loss of Consortium

21.   Plaintiffs incorporate by reference all prior allegations herein.

22.   Gail Watson-Joe suffered severe injuries as a result of defendant’s negligent

      failure to possess that degree of knowledge and skill ordinarily possessed and

      exercised at the time by other health care providers in the field or specially in

      which they were practicing.

23.   As a result, Plaintiff Wallace Joe, Sr. was deprived of the benefit of marital

      relations with Plaintiff Gail Watson-Joe including but not limited to love,

      affection, care, attention, companionship and comfort.

24.   Further, Plaintiff Wallace Joe, Sr. has sustained both past and future loss of

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       consortium in the spousal relationship, including loss of society, comfort, care,

       protection, affection, companionship, and solace.



                                 PRAYER FOR RELIEF

       WHEREFORE plaintiffs demand judgment for compensatory damages in excess

of $20,000,000, the precise amount to be proven at trial, plus allowable costs, interest,

and attorneys’ fees.

       RESPECTFULLY SUBMITTED this 8th day of June, 2010, at Bethel, Alaska.

                                                  s/ Sean Brown
                                                  P.O. Box 1809
                                                  Bethel, Alaska 99559
                                                  Phone: (907) 543-4700
                                                  Fax: (888) 887-1146
                                                  E-mail: admin@powerbrown.com
                                                  ABA No. 0205012




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